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                                                                              FILED
                                                                  United States Court of Appeals
                                        PUBLISH                           Tenth Circuit

                          UNITED STATES COURT OF APPEALS                    September 20, 2019

                                                                            Elisabeth A. Shumaker
                               FOR THE TENTH CIRCUIT                            Clerk of Court
                           _________________________________

    UNITED STATES OF AMERICA,

          Plaintiff - Appellee,

    v.                                                          No. 18-1217

    KAREN LYNN MCCLAFLIN,

          Defendant - Appellant.
                         _________________________________

                        Appeal from the United States District Court
                                for the District of Colorado
                            (D.C. No. 1:17-CR-00168-CMA-1)
                          _________________________________

   Ann Marie Taliaferro, Brown, Bradshaw & Moffat, L.L.P., Salt Lake City, Utah, for
   Defendant-Appellant.

   James C. Murphy, Assistant United States Attorney (Jason R. Dunn, United States
   Attorney, with him on the brief), Denver Colorado, for Plaintiff-Appellee.
                           _________________________________

   Before MATHESON, SEYMOUR, and BACHARACH, Circuit Judges.
                     _________________________________

   SEYMOUR, Circuit Judge.
                      _________________________________

         Defendant Karen McClaflin pled guilty to two counts stemming from the

   operation of a residential Ponzi scheme which defrauded investors of more than

   $14.5 million dollars. At sentencing, the district court calculated the advisory

   sentencing guidelines at 135 to 168 months’ imprisonment, applied a 6-level
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   enhancement for substantial financial hardship to more than twenty-five victims, and

   then determined that a downward variant sentence of 96 months was appropriate. On

   appeal, Ms. McClaflin argues the district court: (1) abused its discretion by denying

   her motion for an additional continuance of the sentencing hearing, (2) procedurally

   erred by imposing the 6-level enhancement based upon victim impact statements, and

   (3) failed to consider all of the requisite 18 U.S.C. § 3553(a) factors. We affirm.



                                              I.

         Between March 2011 and early 2017, Ms. McClaflin operated a “fix and flip”

   real estate Ponzi scheme in which she made false promises to investors. On June 21,

   2017, Ms. McClaflin entered into a plea agreement with the government for wire

   fraud and money laundering. The plea deal included a 2-level enhancement for a

   crime involving more than ten victims. The government indicated that it did not have

   the evidence at that time to support a 6-level enhancement for substantial financial

   hardship to more than twenty-five victims.

         The parties jointly filed a motion to continue on September 1, 2017, and the

   district court moved the sentencing hearing set for January 17, 2018 to March 14 to

   give the parties more time to analyze documents regarding loss and restitution. On

   March 5, counsel for Ms. McClaflin requested another continuance due to Ms.

   McClaflin’s poor health and hip problems. The district court moved the sentencing

   hearing to May 10, nearly an entire year after Ms. McClaflin pled guilty to the




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   charges. The week of the hearing Ms. McClaflin again requested her sentencing be

   continued on the grounds of her ill health. The district court denied the motion and it

   repeated this denial when Ms. McClaflin’s counsel urged a continuance at the

   sentencing hearing.

         At sentencing, the court questioned the government’s decision not to pursue

   the 6-level enhancement. Notwithstanding the government’s reticence and in order to

   implement the enhancement, the district court conducted an extensive review of the

   sworn victim impact statements attached to the presentence Report (“PSR”). The

   court made independent findings of fact regarding Ms. McClaflin’s scheme and

   specifically found that Ms. McClaflin’s offense resulted in substantial financial

   hardship to twenty-five or more victims. See U.S.S.G. § 2B1.1(b)(2)(C).

         Prior to passing sentence, the district court heard testimony from victims of

   Ms. McClaflin’s scheme from the Receiver who had been appointed by the court to

   recover assets related to the scheme, and from Ms. McClaflin herself. Finding that

   Ms. McClaflin committed a level 33 offense with a criminal history category of I,

   resulting in an advisory imprisonment range between 135 and 168 months, the court

   determined a downward variant sentence of 96 months was warranted. Ms.

   McClaflin appeals.



                                              II.

         We review the denial of a motion for continuance for abuse of discretion and

   will only find error if the district court’s decision was “arbitrary or unreasonable and


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   materially prejudiced” the defendant. Rogers v. Andrus Transp. Services, 502 F.3d

   1147, 1151 (10th Cir. 2007). In determining whether the denial of a continuance

   constitutes an abuse of discretion, we look to the individual circumstances of the

   case. Id.

         The framework for reviewing the denial of a motion for a continuance

   “involves an examination of four factors: (1) the diligence of the party seeking the

   continuance; (2) the likelihood the continuance, if granted, would have accomplished

   the stated purpose; (3) the inconvenience to the opposing party, witnesses, and the

   court; and (4) the need for the continuance and any harm resulting from its denial.”

   United States v. Glaub, 910 F.3d 1334, 1345 (10th Cir. 2018). “The final factor is

   the most important.” United States v. Orr, 692 F.3d 1079, 1100 (10th Cir. 2012).

         Of those four factors, Ms. McClaflin has not clearly satisfied any of them. Ms.

   McClaflin’s counsel admitted that he was not prepared for the sentencing hearing,

   that he had not sufficiently talked to witnesses, and that he had not explained the

   extent of Ms. McClaflin’s medical condition or ascertained proper facilities through

   the BOP. Nor had he filed a motion for a variant sentence. There was not a high

   likelihood that if a continuance were granted, Ms. McClaflin’s health would improve

   much more than it already had. The district court noted that Ms. McClaflin was not

   undergoing an imminent medical procedure, and Ms. McClaflin’s counsel conceded

   that her hip infection was “as low as it can be right now.” Rec., vol. IV at 11.

         Conversely, granting the continuance would have greatly inconvenienced the




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   opposing party and the court. Ms. McClaflin requested the continuance a mere five

   days before the hearing was set to commence, and it is likely that the victims and

   witnesses had previously made preparations to attend. The district court already had

   granted Ms. McClaflin and the government almost a year to review financial

   information and to prepare for sentencing, and it would have been required to

   rearrange its calendar even further in order to grant Ms. McClaflin a new hearing

   date.

           Significantly, Ms. McClaflin has failed to demonstrate prejudice. In United

   States v. West, 828 F.2d 1468, 1471 (10th Cir. 1987), we held that the district court

   abused its discretion in denying the requested continuance because it precluded the

   defendant from calling “the only eyewitness who might have presented directly

   exculpatory testimony.” 1 There,“the testimony was important and the prejudice

   resulting from the denial of a continuance was severe.” Id. Here, however, the

   continuance would merely allow Ms. McClaflin to accumulate additional mitigating

   evidence. The district court did not abuse its discretion in denying the motion for a

   continuance.




           1
           In West, 828 F.2d at 1470, the defendant’s primary defense to a first-degree
   murder charge was that he did not strike the victim and was therefore innocent. The
   court denied the defendant’s continuance motion until the next day, even when a
   subpoenaed witness who would testify that the defendant did not strike the victim did
   not appear on the day he was called and a reasonable possibility existed he would
   voluntarily appear the next day. Id. at 1470–71.

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                                              III.

         Ms. McClaflin also contends that the district court made two procedural errors:

   first, by relying on sworn victim impact statements to sua sponte impose the 6-level

   enhancement; and second by failing to consider the requisite § 3553(a) factors. The

   parties disagree on the relevant standard of review.

         “Fairness and judicial efficiency demand that litigants notify the district court

   of a procedural sentencing error with reasonable specificity, thereby providing that

   court the opportunity to correct its action in the first instance.” United States v.

   Robertson, 568 F.3d 1203, 1209 (10th Cir. 2009). We require timely objections so

   the district court can consider and resolve them at the time they are raised and

   because “[i]n the case of an actual or invited procedural error, the district court can

   often correct or avoid the mistake so that it cannot possibly affect the ultimate

   outcome.” Puckett v. United States, 556 U.S. 129, 134 (2009). It is Ms. McClaflin’s

   position that she properly objected to the procedural errors and any failure to

   preserve the issues was excused because it was plain that further objection would

   have been futile. On the other hand, the government contends these claims were not

   properly objected to and should only be reviewed for plain error, which requires there

   be an “(1) error, (2) that is plain, which (3) affects substantial rights, and which (4)

   seriously affects the fairness, integrity, or public reputation of judicial proceedings.”

   United States v. Wright, 848 F.3d 1274, 1278 (10th Cir. 2017).

          A. 6-level enhancement




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         Prior to sentencing, the government filed a written objection to the 6-level

   enhancement recommended in the PSR for substantial financial hardship to twenty-

   five or more victims. The only ground stated for the objection was that the

   government elected to stand by the plea agreement’s offense level calculation of a 2-

   level enhancement based on more than ten victims. Ms. McClaflin joined the

   government’s objection. At sentencing, the district court explained its process for

   applying the 6-level enhancement and walked through its underlying findings of fact.

   When the court prompted Ms. McClaflin’s counsel to make any statement in regards

   to the written objection to the 6-level enhancement, defense counsel merely stated,

   “[i]t is the Government’s objection . . . not the defendant’s.” Rec., vol. IV at 22. The

   judge prompted counsel a second time “to make any statement for purposes of your

   record on appeal” and counsel reiterated that he did not have a statement. Id. Ms.

   McClaflin’s claim that further objection would have been futile is thus unconvincing.

         We require that parties object with specificity so that the district court can

   correct its actions in the first instance. See, e.g., United States v. Holloway, 826 F.3d

   1237, 1251 (10th Cir. 2016); Robertson, 568 F.3d at 1209. Ms. McClaflin did not

   object to the accuracy of the sworn victim impact statements nor to the district

   court’s reliance upon them. “We have repeatedly held that if a defendant fails to

   object to his presentence report, he waives his right to challenge the district court’s

   reliance on it, unless the district court’s decision to do so amounts to plain error.”

   Holloway, 826 F.3d at 1251; see also United States v. Figueroa-Labrada, 720 F.3d




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   1258, 1266 (10th Cir. 2013). Because Ms. McClaflin did not properly preserve the

   issue at sentencing, we review for plain error.

         The district court did not err by using the sworn victim impact statements to

   make its own independent findings of fact. “The sentencing judge remains ultimately

   responsible for determining the facts and must establish the relevant facts even if all

   the parties argue to the contrary.” United States v. Aragon, 922 F.3d 1102, 1109

   (10th Cir. 2019) (internal brackets omitted). In determining the number of victims

   and calculating loss, a district court must make independent findings supporting its

   conclusions. Holloway, 826 F.3d at 1251. In doing so, the court can look beyond

   admissible evidence at trial as long as the information has a sufficient indica of

   reliability to support its probable accuracy. See, e.g., United States v. Caiba-Antele,

   705 F.3d 1162, 1165 (10th Cir. 2012); see also United States v. Sunmola, 887 F.3d

   830, 836–37 (7th Cir. 2018); U.S.S.G. § 6A1.3(a).

         Here, the district court made independent factual findings by relying upon

   victim impact statements that were submitted under penalty of perjury and whose

   accuracy was not disputed by any party. The court heard testimony from the

   government’s IRS agent who likewise relied upon the victim impact statements.

   Speaking in allocution, Ms. McClaflin referred to the statements, indicating she had

   “read them over and over and over . . ..” Rec., vol. IV at 101. At no point did Ms.

   McClaflin raise any concerns or objection or otherwise contend that these sworn

   victim impact statements were unreliable. Accordingly, the victim impact statements

   were properly considered by the court.


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         In calculating the number of victims who suffered substantial financial

   hardship2, the district court first determined that there were over ninety investors who

   were defrauded by Ms. McClaflin, counting husband and wife couples together as

   one victim. Of those ninety, sixty-three filed victim impact statements under penalty

   of perjury. Twenty-eight of these indicated that they had to make substantial changes

   to their employment or substantial changes to their living arrangements as a direct

   result of Ms. McClaflin’s fraudulent scheme. At the very least the twenty-eight

   sworn statements meet the standard for substantial financial hardship laid out in the

   Sentence Guidelines Application Note. See U.S.S.G. § 2B1.1, cmt. n.4(f) (iv), and

   (v). Because the district court’s consideration of this evidence was well within its

   discretion, the district court did not procedurally err in relying on the sworn victim

   impact statements.

             B. § 3553(a) factors


         2
            “Substantial Financial Hardship.—In determining whether the offense
   resulted in substantial financial hardship to a victim, the court shall consider, among
   other factors, whether the offense resulted in the victim—
          (i) becoming insolvent;
          (ii) filing for bankruptcy under the Bankruptcy Code (title 11, United States
   Code);
          (iii) suffering substantial loss of a retirement, education, or other savings or
   investment fund;
          (iv) making substantial changes to his or her employment, such as postponing
   his or her retirement plans;
          (v) making substantial changes to his or her living arrangements, such as
   relocating to a less expensive home; and
          (vi) suffering substantial harm to his or her ability to obtain credit.”

         U.S.S.G. § 2B1.1, cmt. n.4(f).


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          Ms. McClaflin also claims the district court failed to properly consider all of the

   relevant § 3553(a) factors before imposing its sentence. But, once again, she never

   objected to the district court’s sentencing process at trial. We therefore review only

   for plain error.

          Ms. McClaflin contends that the court did not ask to hear from counsel or the

   defendant until after it had already made up its mind. She relies on the court’s

   statement prior to sentencing that “I am inclined to grant a variant sentence

   somewhere within that adjusted advisory guideline range . . . . However, I have not

   decided where within that range of 87 to 108 months the sentence should actually

   be.” Rec., vol. IV at 85-86. But Ms. McClaflin takes a single statement out of the

   context of the entire sentencing process. Overall that process shows that the district

   court proceeded properly and considered the requisite factors. For example, when

   the court began it’s sentencing, it stated:

          I will tell you where I am going, in terms of my inclinations, so that
          you can target any arguments you have to what my concerns are, and
          to persuade me otherwise, or to persuade me to go the way I have
          indicated, if that is what you want. I will hear from [defense counsel],
          then [the government], and finally, if Ms. McClaflin wishes to make
          any statement to me on her own behalf, I will hear from her.

   Id. at 73–74. The court thus clearly demonstrated that, although it had a general idea

   based upon the PSR, it would hear from the parties involved before making the final

   decision.

          Ms. McClaflin further contends the district court failed to consider other

   relevant mitigating factors besides Ms. McClaflin’s cooperation with the government



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   when imposing her sentence. We disagree. While the court put an emphasis on Ms.

   McClaflin’s cooperation, this was not the only factor it considered. For example, the

   court clearly considered the nature and circumstances of the offense by noting the

   impact of Ms. McClaflin’s scheme on her victims. It also noted that Ms. McClaflin

   did not act in a manner entirely consistent with a woman who was truly sorry for her

   conduct, expressing concerns about Ms. McClaflin’s failure to account for personal

   assets and her divorce from her husband to secure his assets. With respect to the

   § 3553(a) factors, “[w]e do not require a ritualistic incantation to establish

   consideration of a legal issue, nor do we demand that the district court recite any

   magic words to show us that it fulfilled its responsibility to be mindful of the factors

   that Congress has instructed it to consider.” United States v. Lopez-Flores, 444 F.3d

   1218, 1223 (10th Cir. 2006) (citation omitted); see also United States v. Rines, 419

   F.3d 1104, 1107 (10th Cir. 2005) (“It is true that the district court did not march

   through § 3553(a)’s sentencing factors, but we have never imposed such a

   requirement.”).

         Although Ms. McClaflin specifically alleges that the district court did not

   consider her medical circumstances, the record reveals that in fact it did do so before

   determining that the Bureau of Prisons was better suited to decide which facilities

   and treatments were necessary. Rec., vol. IV at 115 (“I think the Bureau of Prisons

   can sort out whether she really does have serious medical issues that are different

   from any of the other defendants that they see on a regular basis who have medical




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   issues.”). The court was clearly aware of and considered Ms. McClaflin’s medical

   needs at sentencing, but it did not deem them determinative, noting that Ms.

   McClaflin was not at risk of undergoing a major procedure in the imminent future.

   Because the district court clearly considered the relevant § 3553(a) factors, it did not

   plainly err when it sentenced Ms. McClaflin.

         We AFFIRM the judgment of the district court.




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